             Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 1 of 21 Page ID #:965



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                   The HRB Experience, LLC
                 8
                 9                     UNITED STATES DISTRICT COURT
                 10       CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                 11
                 12 SUSHI NOZAWA, LLC, a Delaware          CASE NO. 2:19-cv-07653 ODW (SSx)
                    limited liability company,
                 13                                        Honorable Otis D. Wright, II
                                  Plaintiff,
                 14                                        DEFENDANT THE HRB
                          v.                               EXPERIENCE, LLC’S ANSWER
                 15                                        TO PLAINTIFF SUSHI NOZAWA,
                    The HRB Experience, LLC, a             LLC’S COMPLAINT
                 16 California liability company,
                                                           DEMAND FOR JURY TRIAL
                 17            Defendant.
                 18                                        Filed:       September 4, 2019
                                                           Trial:       n/a
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             Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 2 of 21 Page ID #:966



                  1         Defendant The HRB Experience, LLC (“Defendant”), by and through the
                  2 undersigned counsel, respectfully submits this Answer to the Complaint of Plaintiff
                  3 Sushi Nozawa, LLC (“Plaintiff”).
                  4
                  5                            JURISDICTION AND VENUE1
                  6         1.     Paragraph 1 consists of legal conclusions as to which no response is
                  7 required. To the extent a response is required, Defendant admits and alleges that
                  8 Plaintiff purports to assert claims for trademark infringement and unfair
                  9 competition. Defendant expressly denies (i) that any trademark infringement or
                 10 unfair competition occurred, and (ii) that Plaintiff has any protectable trademark
                 11 rights in the phrase “hand roll bar.” Except as expressly admitted, alleged or
                 12 denied, Defendant denies each and every allegation contained in Paragraph 1.
                 13         2.     Paragraph 2 consists of legal conclusions as to which no response is
                 14 required. To the extent a response is required, Defendant admits and alleges that
                 15 Plaintiff purports to assert claims for trademark infringement and unfair
                 16 competition. Defendant further admits and alleges that Plaintiff asserts subject
                 17 matter jurisdiction in this action under 28 U.S.C. §§ 1331, 1338(a) and that
                 18 Plaintiff asserts that this Court has supplemental jurisdiction over Plaintiff’s
                 19 asserted state law claims under 28 U.S.C. §§ 1338(b) and 1367(a). Defendant does
                 20 not contest that this Court has subject matter jurisdiction over Plaintiff’s claims for
                 21 Federal Trademark Infringement (15 U.S.C. § 1114) and Federal Unfair
                 22 Competition (15 U.S.C. § 1125(a)), and does not contest that this Court may
                 23 exercise supplemental jurisdiction over Plaintiff’s asserted state law claims.
                 24 Defendant expressly denies that any trademark infringement or unfair competition
                 25 occurred. Except as expressly admitted, alleged or denied, Defendant denies each
                 26 and every allegation contained in Paragraph 2.
                 27   1
                     For the Court’s convenience, all headings are as stated in the Complaint. To the
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                    extent that these headings constitute allegations that require a response, Defendant
                 28 expressly
  Silberberg &                denies any allegations set forth in such headings.
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             Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 3 of 21 Page ID #:967



                  1         3.     Paragraph 3 consists of legal conclusions as to which no response is
                  2 required. To the extent a response is required, Defendant admits and alleges that
                  3 Plaintiff purports to base venue on 28 U.S.C. § 1391(b). Defendant does not
                  4 contest that this Court has personal jurisdiction over it for purposes of this action.
                  5 Defendant further does not contest that venue for this action is appropriate in this
                  6 Judicial District. Defendant expressly denies that any infringement or unfair
                  7 competition occurred. Except as expressly admitted, alleged or denied, Defendant
                  8 denies each and every allegation contained in Paragraph 3.
                  9
                 10                                     THE PARTIES
                 11         4.     Defendant lacks knowledge or information sufficient to form a belief
                 12 as to the truth of the allegations in Paragraph 4, and on that basis denies each and
                 13 every allegation contained therein.
                 14         5.     Defendant admits that it is a California limited liability company.
                 15 Defendant further admits and alleges that it maintains a place of business at 8271
                 16 Melrose Avenue #100, Los Angeles, CA 90046. Defendant further admits and
                 17 alleges that it operates a sushi restaurant in Los Angeles. Except as expressly
                 18 admitted and alleged, Defendant denies each and every allegation contained in
                 19 Paragraph 5.
                 20
                 21                   SUSHI NOZAWA’S BUSINESS AND MARKS
                 22         6.     Defendant lacks knowledge or information sufficient to form a belief
                 23 as to the truth of the allegations in Paragraph 6, and on that basis denies each and
                 24 every allegation contained therein.
                 25         7.     Defendant lacks knowledge or information sufficient to form a belief
                 26 as to the truth of the allegations in Paragraph 7, and on that basis denies each and
                 27 every allegation contained therein.
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             Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 4 of 21 Page ID #:968



                  1         8.    Defendant lacks knowledge or information sufficient to form a belief
                  2 as to the truth of the allegations in Paragraph 8, and on that basis denies each and
                  3 every allegation contained therein.
                  4         9.    Defendant lacks knowledge or information sufficient to form a belief
                  5 as to the truth of the allegations in Paragraph 9, and on that basis denies each and
                  6 every allegation contained therein. Defendant also expressly denies that Plaintiff
                  7 has any protectable trademark rights in the phrase “hand roll bar.”
                  8         10.   Defendant lacks knowledge or information sufficient to form a belief
                  9 as to the truth of the allegations in Paragraph 10, and on that basis denies each and
                 10 every allegation contained therein. Defendant also expressly denies that Plaintiff
                 11 has any protectable trademark rights in the phrase “hand roll bar.”
                 12         11.   Defendant admits and alleges that Plaintiff has attached as Exhibit A
                 13 and Exhibit B what purport to be trademark registration certificates. To the extent
                 14 that these Exhibits are incorporated by reference into the Complaint, Defendant
                 15 lacks knowledge or information sufficient to form a belief as to the truth of the
                 16 information contained therein, and on that basis denies such allegations.
                 17 Defendant expressly denies that Plaintiff has any protectable trademark rights in
                 18 the phrase “hand roll bar.” Except as expressly admitted, alleged or denied,
                 19 Defendant lacks knowledge sufficient to form a belief as to the truth of the
                 20 remaining allegations of Paragraph 11, and on that basis denies each and every
                 21 allegation contained therein.
                 22         12.   Defendant lacks knowledge or information sufficient to form a belief
                 23 as to the truth of the allegations in Paragraph 12, and on that basis denies each and
                 24 every allegation contained therein. Defendant also expressly denies that Plaintiff
                 25 has any protectable trademark rights in the phrase “hand roll bar.”
                 26         13.   Defendant lacks knowledge or information sufficient to form a belief
                 27 as to the truth of the allegations in Paragraph 13, and on that basis denies each and
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             Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 5 of 21 Page ID #:969



                  1 every allegation contained therein. Defendant also expressly denies that Plaintiff
                  2 has any protectable trademark rights in the phrase “hand roll bar.”
                  3         14.   Defendant lacks knowledge or information sufficient to form a belief
                  4 as to the truth of the allegations in Paragraph 14, and on that basis denies each and
                  5 every allegation contained therein. Defendant also expressly denies that Plaintiff
                  6 has any protectable trademark rights in the phrase “hand roll bar.”
                  7         15.   Defendant lacks knowledge or information sufficient to form a belief
                  8 as to the truth of the allegations in Paragraph 15, and on that basis denies each and
                  9 every allegation contained therein. Defendant also expressly denies that Plaintiff
                 10 has any protectable trademark rights in the phrase “hand roll bar.”
                 11         16.   Defendant lacks knowledge or information sufficient to form a belief
                 12 as to the truth of the allegations in Paragraph 16, and on that basis denies each and
                 13 every allegation contained therein. Defendant also expressly denies that Plaintiff
                 14 has any protectable trademark rights in the phrase “hand roll bar.”
                 15         17.   Defendant lacks knowledge or information sufficient to form a belief
                 16 as to the truth of the allegations in Paragraph 17, and on that basis denies each and
                 17 every allegation contained therein. Defendant also expressly denies that Plaintiff
                 18 has any protectable trademark rights in the phrase “hand roll bar.”
                 19         18.   Defendant lacks knowledge or information sufficient to form a belief
                 20 as to the truth of the allegations in Paragraph 18, and on that basis denies each and
                 21 every allegation contained therein. Defendant also expressly denies that Plaintiff
                 22 has any protectable trademark rights in the phrase “hand roll bar.”
                 23         19.   Defendant lacks knowledge or information sufficient to form a belief
                 24 as to the truth of the allegations in Paragraph 19, and on that basis denies each and
                 25 every allegation contained therein. Defendant also expressly denies that Plaintiff
                 26 has any protectable trademark rights in the phrase “hand roll bar.”
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             Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 6 of 21 Page ID #:970



                  1                        DEFENDANT’S INFRINGING ACTS
                  2         20.   Defendant admits and alleges that it operates a sushi restaurant in Los
                  3 Angeles. Except as expressly admitted and alleged, Defendant denies each and
                  4 every allegation contained in Paragraph 20.
                  5         21.   Defendant admits and alleges that it operates a sushi restaurant in Los
                  6 Angeles. Defendant admits and alleges that Plaintiff has attached as Exhibit C
                  7 what purports to be a screenshot of the homepage of Defendant’s website as of
                  8 September 4, 2019. To the extent that Exhibit C is incorporated by reference into
                  9 the Complaint, Defendant admits and alleges that it advertises on a website located
                 10 at https://www.thehrbexperience.com/, but otherwise lacks knowledge or
                 11 information sufficient to form a belief as to the truth of the information contained
                 12 therein, and on that basis denies such allegations. Defendant further admits and
                 13 alleges that Plaintiff has attached as Exhibit D what purports to be a photo of
                 14 Defendant’s storefront. To the extent that Exhibit D is incorporated by reference
                 15 into the Complaint, Defendant lacks knowledge or information sufficient to form a
                 16 belief as to the truth of the information contained therein, and on that basis denies
                 17 such allegations. Except as expressly admitted, alleged or denied, Defendant
                 18 denies each and every allegation contained in Paragraph 21.
                 19         22.   Defendant admits and alleges that it advertises on the Internet and
                 20 social media, including on Instagram. Defendant further admits and alleges that
                 21 Plaintiff has attached as Exhibit E what purports to be a photo of Defendant’s
                 22 Instagram page as of September 4, 2019. To the extent that Exhibit E is
                 23 incorporated by reference into the Complaint, Defendant admits and alleges that it
                 24 operates an Instagram account located at
                 25 https://www.instagram.com/thehrbexperience/, but otherwise lacks knowledge or
                 26 information sufficient to form a belief as to the truth of the information contained
                 27 therein, and on that basis denies such allegations. Except as expressly admitted,
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             Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 7 of 21 Page ID #:971



                  1 alleged or denied, Defendant denies each and every allegation contained in
                  2 Paragraph 22.
                  3         23.   Paragraph 23 consists of legal conclusions as to which no response is
                  4 required. To the extent a response is required, Defendant admits and alleges that,
                  5 on or about July 17, 2019, Defendant received a letter from representatives of
                  6 Plaintiff, the contents of which are as set forth therein. Defendant further admits
                  7 and alleges that, on or about August 23, 2019, representatives of Defendant sent
                  8 Plaintiff a multiple page letter responding to the July 17 letter, to which Defendant
                  9 received no further response. Defendant expressly denies (i) that any trademark
                 10 infringement occurred, and (ii) that Plaintiff has any protectable trademark rights
                 11 in the phrase “hand roll bar.” Except as expressly admitted, alleged or denied,
                 12 Defendant denies each and every allegation contained in Paragraph 23.
                 13         24.   Paragraph 24 consists of legal conclusions as to which no response is
                 14 required. To the extent a response is required, Defendant admits and alleges that,
                 15 on or about February 4, 2019, it filed an application with the United States Patent
                 16 and Trademark Office (“USPTO”) to register the mark “HRB” in International
                 17 Class 43 based on a intent to use the mark in commerce (U.S. Ser. No. 88/288,
                 18 109), and further admits and alleges that, on or about July 23, 2019, the USPTO
                 19 issued a Notice of Allowance for the mark “HRB.” Except as expressly admitted
                 20 and alleged, Defendant denies each and every allegation contained in Paragraph
                 21 24.
                 22         25.    Defendant lacks knowledge or information sufficient to form a belief
                 23 as to the truth of the allegations in Paragraph 25, and on that basis denies each and
                 24 every allegation contained therein.
                 25         26.   Defendant denies the allegations contained in Paragraph 26.
                 26 Defendant also expressly denies that Plaintiff has any protectable trademark rights
                 27 in the phrase “hand roll bar.”
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             Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 8 of 21 Page ID #:972



                  1         27.   Defendant admits and alleges that Plaintiff has attached as Exhibit F
                  2 what purports to be a photo of an Instagram post obtained on July 11, 2019. To the
                  3 extent that Exhibit F is incorporated by reference into the Complaint, Defendant
                  4 admits and alleges that it operates an Instagram account located at
                  5 https://www.instagram.com/thehrbexperience/, but otherwise lacks knowledge or
                  6 information sufficient to form a belief as to the truth of the information contained
                  7 therein, and on that basis denies such allegations. Defendant expressly denies that
                  8 Plaintiff has any protectable trademark rights in the phrase “hand roll bar.” Except
                  9 as expressly admitted, alleged or denied, Defendant denies each and every
                 10 allegation contained in Paragraph 27.
                 11         28.   Defendant lacks knowledge or information sufficient to form a belief
                 12 as to the truth of the allegations in Paragraph 28, and on that basis denies each and
                 13 every allegation contained therein.
                 14         29.   Paragraph 29 consists of legal conclusions as to which no response is
                 15 required. To the extent a response is required, Defendant expressly denies that it
                 16 was required to obtain any authorization from Plaintiff, and otherwise denies the
                 17 allegations of Paragraph 29.
                 18         30.   Paragraph 30 consists of legal conclusions as to which no response is
                 19 required. To the extent a response is required, Defendant expressly denies (i) that
                 20 it was required to obtain any authorization from Plaintiff; (ii) that any trademark
                 21 infringement or unfair competition occurred; and (iii) that Plaintiff has any
                 22 protectable trademark rights in the phrase “hand roll bar.” Except as expressly
                 23 admitted, alleged or denied, Defendant denies each and every allegation contained
                 24 in Paragraph 30.
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             Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 9 of 21 Page ID #:973



                  1                            FIRST CLAIM FOR RELIEF
                  2               (Federal Trademark Infringement (15 U.S.C. § 1114))
                  3         31.   Defendant realleges and incorporates herein by reference its responses
                  4 to Paragraphs 1 through 30 as though set forth in full.
                  5         32.   Paragraph 32 consists of legal conclusions as to which no response is
                  6 required. To the extent a response is required, Defendant lacks knowledge or
                  7 information sufficient to form a belief as to the truth of the allegations in Paragraph
                  8 32, and on that basis denies each and every allegation contained therein.
                  9 Defendant expressly denies that Plaintiff has any protectable trademark rights in
                 10 the phrase “hand roll bar.”
                 11         33.   Paragraph 33 consists of legal conclusions as to which no response is
                 12 required. To the extent a response is required, Defendant expressly denies that it
                 13 was required to obtain any authorization from Plaintiff, and otherwise denies the
                 14 remaining allegations of Paragraph 33.
                 15         34.   Paragraph 34 consists of legal conclusions as to which no response is
                 16 required. To the extent a response is required, Defendant expressly denies that it
                 17 was required to obtain any authorization from Plaintiff, and otherwise denies the
                 18 remaining allegation of Paragraph 34.
                 19         35.   Paragraph 35 consists of legal conclusions as to which no response is
                 20 required. To the extent a response is required, Defendant expressly denies (i) that
                 21 any trademark infringement occurred, and (ii) that Plaintiff has any protectable
                 22 trademark rights in the phrase “hand roll bar.” Except as expressly admitted,
                 23 alleged or denied, Defendant denies each and every allegation contained in
                 24 Paragraph 35.
                 25         36.   Paragraph 36 consists of legal conclusions as to which no response is
                 26 required. To the extent a response is required, Defendant expressly denies (i) that
                 27 any trademark infringement occurred; (ii) that Defendant has committed any
    Mitchell     28 wrongful act or act that has caused, is causing or will cause any injury or damage
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          Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 10 of 21 Page ID #:974



                  1 to Plaintiff whatsoever; and (iii) that Plaintiff is entitled to any relief of whatever
                  2 nature. Except as expressly admitted, alleged or denied, Defendant denies each
                  3 and every allegation contained in Paragraph 36.
                  4         37.    Paragraph 37 consists of legal conclusions as to which no response is
                  5 required. To the extent a response is required, Defendant expressly denies (i) that
                  6 any trademark infringement occurred; (ii) that Defendant has committed any
                  7 wrongful act or act that has caused, is causing or will cause any injury or damage
                  8 to Plaintiff whatsoever; (iii) that Plaintiff is entitled to Defendant’s profits; and (iv)
                  9 that Plaintiff is entitled to any relief of whatever nature. Except as expressly
                 10 admitted, alleged or denied, Defendant denies each and every allegation contained
                 11 in Paragraph 37.
                 12         38.    Paragraph 38 consists of legal conclusions as to which no response is
                 13 required. To the extent a response is required, Defendant expressly denies (i) that
                 14 any trademark infringement occurred; (ii) that Defendant has committed any
                 15 wrongful act or act that has caused, is causing or will cause any injury or damage
                 16 to Plaintiff whatsoever; and (iii) that Plaintiff is entitled to any relief of whatever
                 17 nature. Except as expressly admitted, alleged or denied, Defendant denies each
                 18 and every allegation contained in Paragraph 38.
                 19         39.    Paragraph 39 consists of legal conclusions as to which no response is
                 20 required. To the extent a response is required, Defendant expressly denies (i) that
                 21 any trademark infringement occurred; (ii) that Defendant has committed any
                 22 wrongful act or act that has caused, is causing or will cause any injury or damage
                 23 to Plaintiff whatsoever; (iii) that Plaintiff is entitled to Defendant’s profits or to
                 24 attorneys’ fees; and (iv) that Plaintiff is entitled to any relief of whatever nature.
                 25 Except as expressly admitted, alleged or denied, Defendant denies each and every
                 26 allegation contained in Paragraph 39.
                 27
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          Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 11 of 21 Page ID #:975



                  1                           SECOND CLAIM FOR RELIEF
                  2                  (Federal Unfair Competition (15 U.S.C. § 1125(a))
                  3         40.    Defendant realleges and incorporates herein by reference its responses
                  4 to Paragraphs 1 through 39 as though set forth in full.
                  5         41.    Paragraph 41 consists of legal conclusions as to which no response is
                  6 required. To the extent a response is required, Defendant expressly denies (i) that
                  7 any trademark infringement or unfair competition occurred, and (ii) that Plaintiff
                  8 has any protectable trademark rights in the phrase “hand roll bar.” Except as
                  9 expressly admitted, alleged or denied, Defendant denies each and every allegation
                 10 contained in Paragraph 41.
                 11         42.    Paragraph 42 consists of legal conclusions as to which no response is
                 12 required. To the extent a response is required, Defendant expressly denies that any
                 13 trademark infringement or unfair competition occurred, and otherwise denies the
                 14 remaining allegations of Paragraph 42.
                 15         43.    Paragraph 43 consists of legal conclusions as to which no response is
                 16 required. To the extent a response is required, Defendant expressly denies (i) that
                 17 any trademark infringement or unfair competition occurred; (ii) that Defendant has
                 18 committed any wrongful act or act that has caused, is causing or will cause any
                 19 injury or damage to Plaintiff whatsoever; and (iii) that Plaintiff is entitled to any
                 20 relief of whatever nature. Except as expressly admitted, alleged or denied,
                 21 Defendant denies each and every allegation contained in Paragraph 43.
                 22         44.    Paragraph 44 consists of legal conclusions as to which no response is
                 23 required. To the extent a response is required, Defendant expressly denies (i) that
                 24 any trademark infringement or unfair competition occurred; (ii) that Defendant was
                 25 required to obtain any authorization from Plaintiff; (iii) that Defendant has
                 26 committed any wrongful act or act that has caused, is causing or will cause any
                 27 injury or damage to Plaintiff whatsoever; and (iv) that Plaintiff is entitled to any
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          Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 12 of 21 Page ID #:976



                  1 relief of whatever nature. Except as expressly admitted, alleged or denied,
                  2 Defendant denies each and every allegation contained in Paragraph 44.
                  3         45.    Paragraph 45 consists of legal conclusions as to which no response is
                  4 required. To the extent a response is required, Defendant expressly denies (i) that
                  5 any trademark infringement or unfair competition occurred; (ii) that Defendant has
                  6 committed any wrongful act or act that has caused, is causing or will cause any
                  7 injury or damage to Plaintiff whatsoever; (iii) that Plaintiff is entitled to
                  8 Defendant’s profits; and (iv) that Plaintiff is entitled to any relief of whatever
                  9 nature. Except as expressly admitted, alleged or denied, Defendant denies the
                 10 remaining allegations of Paragraph 45.
                 11         46.    Paragraph 46 consists of legal conclusions as to which no response is
                 12 required. To the extent a response is required, Defendant expressly denies (i) that
                 13 any trademark infringement or unfair competition occurred; (ii) that Defendant has
                 14 committed any wrongful act or act that has caused, is causing or will cause any
                 15 injury or damage to Plaintiff whatsoever; and (iii) that Plaintiff is entitled to any
                 16 relief of whatever nature. Except as expressly admitted, alleged or denied,
                 17 Defendant denies each and every allegation contained in Paragraph 46.
                 18         47.    Paragraph 47 consists of legal conclusions as to which no response is
                 19 required. To the extent a response is required, Defendant expressly denies (i) that
                 20 any trademark infringement or unfair competition occurred; (ii) that Defendant has
                 21 committed any wrongful act or act that has caused, is causing or will cause any
                 22 injury or damage to Plaintiff whatsoever; (iii) that Plaintiff is entitled to
                 23 Defendant’s profits or attorneys’ fees; and (iv) that Plaintiff is entitled to any relief
                 24 of whatever nature. Except as expressly admitted, alleged or denied, Defendant
                 25 denies each and every allegation contained in Paragraph 47.
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          Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 13 of 21 Page ID #:977



                  1                             THIRD CLAIM FOR RELIEF
                  2               (Unfair Competition Under the California Common Law)
                  3         48.    Defendant realleges and incorporates herein by reference its responses
                  4 to Paragraphs 1 through 47 as though set forth in full.
                  5         49.    Paragraph 49 consists of legal conclusions as to which no response is
                  6 required. To the extent a response is required, Defendant expressly denies that any
                  7 trademark infringement or unfair competition occurred, and otherwise denies the
                  8 remaining allegations of Paragraph 49.
                  9         50.    Paragraph 50 consists of legal conclusions as to which no response is
                 10 required. To the extent a response is required, Defendant expressly denies (i) that
                 11 any trademark infringement or unfair competition occurred; (ii) that Defendant has
                 12 committed any wrongful act or act that has caused, is causing or will cause any
                 13 injury or damage to Plaintiff whatsoever; and (iii) that Plaintiff is entitled to any
                 14 relief of whatever nature. Except as expressly admitted, alleged or denied,
                 15 Defendant denies each and every allegation contained in Paragraph 50.
                 16         51.    Paragraph 51 consists of legal conclusions as to which no response is
                 17 required. To the extent a response is required, Defendant expressly denies (i) that
                 18 any trademark infringement or unfair competition occurred; (ii) that Defendant has
                 19 committed any wrongful act or act that has caused, is causing or will cause any
                 20 injury or damage to Plaintiff whatsoever; and (iii) that Plaintiff is entitled to any
                 21 relief of whatever nature. Except as expressly admitted, alleged or denied,
                 22 Defendant denies each and every allegation contained in Paragraph 51.
                 23         52.    Paragraph 52 consists of legal conclusions as to which no response is
                 24 required. To the extent a response is required, Defendant expressly denies (i) that
                 25 any trademark infringement or unfair competition occurred; (ii) that Defendant has
                 26 committed any wrongful act or act that has caused, is causing or will cause any
                 27 injury or damage to Plaintiff whatsoever; (iii) that Plaintiff is entitled to
    Mitchell     28 Defendant’s profits; and (iv) that Plaintiff is entitled to any relief of whatever
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          Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 14 of 21 Page ID #:978



                  1 nature. Except as expressly admitted, alleged or denied, Defendant denies each
                  2 and every allegation contained in Paragraph 52.
                  3         53.    Paragraph 53 consists of legal conclusions as to which no response is
                  4 required. To the extent a response is required, Defendant expressly denies (i) that
                  5 any trademark infringement or unfair competition occurred; (ii) that Defendant has
                  6 committed any wrongful act or act that has caused, is causing or will cause any
                  7 injury or damage to Plaintiff whatsoever; and (iii) that Plaintiff is entitled to any
                  8 relief of whatever nature. Except as expressly admitted, alleged or denied,
                  9 Defendant denies each and every allegation contained in Paragraph 53.
                 10         54.    Paragraph 54 consists of legal conclusions as to which no response is
                 11 required. To the extent a response is required, Defendant expressly denies (i) that
                 12 any trademark infringement or unfair competition occurred; (ii) that Defendant has
                 13 committed any wrongful act or act that has caused, is causing or will cause any
                 14 injury or damage to Plaintiff whatsoever; (iii) that Plaintiff is entitled to exemplary
                 15 damages; and (iv) that Plaintiff is entitled to any relief of whatever nature. Except
                 16 as expressly admitted, alleged or denied, Defendant denies each and every
                 17 allegation contained in Paragraph 54.
                 18
                 19                           FOURTH CLAIM FOR RELIEF
                 20         (California Statutory Unfair Competition (Cal. Bus. & Prof. Code
                 21                                    §§ 17200 et seq.))
                 22         55.    Defendant realleges and incorporates herein by reference its responses
                 23 to Paragraphs 1 through 54 as though set forth in full.
                 24         56.    Paragraph 56 consists of legal conclusions as to which no response is
                 25 required. To the extent a response is required, Defendant expressly denies that any
                 26 trademark infringement or unfair competition occurred, and otherwise denies the
                 27 remaining allegations of Paragraph 56.
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          Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 15 of 21 Page ID #:979



                  1           57.   Paragraph 57 consists of legal conclusions as to which no response is
                  2 required. To the extent a response is required, Defendant expressly denies (i) that
                  3 any trademark infringement or unfair competition occurred; (ii) that Defendant has
                  4 committed any wrongful act or act that has caused, is causing or will cause any
                  5 injury or damage to Plaintiff whatsoever; and (iii) that Plaintiff is entitled to any
                  6 relief of whatever nature. Except as expressly admitted, alleged or denied,
                  7 Defendant denies each and every allegation contained in Paragraph 57.
                  8
                  9                                           PRAYER
                 10           Defendant denies that Plaintiff is entitled to the relief requested in the
                 11 Complaint or to any other relief whatsoever.
                 12
                 13                               AFFIRMATIVE DEFENSES
                 14           As separate and distinct affirmative defenses to Plaintiff’s claims for relief,
                 15 Defendant alleges the following without admission that such allegations are
                 16 affirmative defenses on which Defendant bears the burden of proof.
                 17
                 18                            FIRST AFFIRMATIVE DEFENSE
                 19                                  (Failure to State a Claim)
                 20           1.    The Complaint fails to state facts sufficient to constitute a claim for
                 21 relief.
                 22
                 23                          SECOND AFFIRMATIVE DEFENSE
                 24                                        (Genericness)
                 25           2.    Defendant has not infringed and is not infringing Plaintiff’s purported
                 26 trademark rights because the term “hand roll bar” is generic and/or highly
                 27 descriptive and cannot and does not serve to identify a single source of origin, such
    Mitchell     28 that there is no likelihood of consumer confusion.
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                                          DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT
          Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 16 of 21 Page ID #:980



                  1                          THIRD AFFIRMATIVE DEFENSE
                  2                                        (Fair Use)
                  3         3.     Defendant has not infringed and is not infringing Plaintiff’s purported
                  4 trademark rights because Defendant’s use of the term “hand roll bar” constitutes
                  5 fair use.
                  6
                  7                        FOURTH AFFIRMATIVE DEFENSE
                  8                                    (Waiver/Estoppel)
                  9         4.     Plaintiff has waived, and is estopped from asserting, any of its claims,
                 10 including, but not limited to, by reason of Plaintiff’s unreasonable delay in its
                 11 efforts to enforce its purported trademark rights, if any, despite its actual or
                 12 constructive awareness of the widespread third-party use of the term “hand roll
                 13 bar” in conjunction with sushi restaurants.
                 14
                 15                          FIFTH AFFIRMATIVE DEFENSE
                 16                                      (Acquiescence)
                 17         5.     Plaintiff’s claims are barred, in whole or in part, by the doctrine of
                 18 acquiescence, including, but not limited to, by reason of Plaintiff’s unreasonable
                 19 delay in its efforts to enforce its purported trademark rights, if any, despite its
                 20 actual or constructive awareness of the widespread third-party use of the term
                 21 “hand roll bar” in conjunction with sushi restaurants.
                 22
                 23                          SIXTH AFFIRMATIVE DEFENSE
                 24                               (Bad Faith/Unclean Hands)
                 25         6.     Plaintiff’s claims are barred, precluded and/or limited by reason of
                 26 Plaintiff’s bad faith or unclean hands, including, but not limited to, because
                 27 Plaintiff acted inequitable in acquiring and/or enforcing its purported trademark
    Mitchell     28 rights in “hand roll bar.”
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          Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 17 of 21 Page ID #:981



                  1                        SEVENTH AFFIRMATIVE DEFENSE
                  2                             (Laches/Statute of Limitations)
                  3         7.     Plaintiff’s claims are barred, in whole or in part, by the doctrine of
                  4 laches and/or any applicable statute of limitations, including, but not limited to, by
                  5 reason of Plaintiff’s unreasonable delay in its efforts to enforce its purported
                  6 trademark rights, if any, despite its actual or constructive awareness of the
                  7 widespread third-party use of the term “hand roll bar” in conjunction with sushi
                  8 restaurants.
                  9
                 10                         EIGHTH AFFIRMATIVE DEFENSE
                 11                                   (First Amendment)
                 12         8.     Plaintiff’s claims are barred, in whole or in part, by the First
                 13 Amendment to the United States Constitution.
                 14
                 15                          NINTH AFFIRMATIVE DEFENSE
                 16                       (Trademark Registration Void ab Initio)
                 17         9.     Plaintiff’s claims are barred because its purported trademark
                 18 registrations were void ab initio.
                 19
                 20                         TENTH AFFIRMATIVE DEFENSE
                 21                                 (Trademark Invalidity)
                 22         10.    Plaintiff’s claims are barred because its purported trademarks are
                 23 invalid.
                 24
                 25                       ELEVENTH AFFIRMATIVE DEFENSE
                 26               (Trademark Lack of Distinctiveness/Secondary Meaning)
                 27         11.    Plaintiff’s claims are barred because its purported trademarks are not
    Mitchell     28 inherently distinctive nor have secondary meaning.
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          Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 18 of 21 Page ID #:982



                  1                       TWELFTH AFFIRMATIVE DEFENSE
                  2                                  (Trademark Misuse)
                  3         12.    Plaintiff’s claims are barred due to trademark misuse, in that Plaintiff
                  4 is attempting to leverage its purported registrations beyond the legitimate bounds
                  5 of trademark protection.
                  6
                  7                     THIRTEENTH AFFIRMATIVE DEFENSE
                  8                            (Trademark Non-Infringement)
                  9         13.    Defendant has not infringed and does not infringe any valid trademark
                 10 owned by Plaintiff.
                 11
                 12                     FOURTEENTH AFFIRMATIVE DEFENSE
                 13                                  (Lack of Willfulness)
                 14         14.    Without admitting that Defendant has infringed any trademark, or that
                 15 Plaintiff possesses any trademark rights that could be infringed, Defendant has not
                 16 acted willfully and has, at all times, acted in good faith.
                 17
                 18                      FIFTEENTH AFFIRMATIVE DEFENSE
                 19                             (Failure to Mitigate Damages)
                 20         15.    Defendant is informed and believes, and based thereon alleges, that
                 21 Plaintiff has suffered no damages, and if it has, Plaintiff has failed to make
                 22 reasonable efforts to mitigate the damages alleged.
                 23
                 24                      SIXTEENTH AFFIRMATIVE DEFENSE
                 25                           (Excessive Fines Unconstitutional)
                 26         16.    Without admitting that Defendant has infringed any trademark, or that
                 27 Plaintiff possessed any trademark rights that could be infringed, the recovery of
    Mitchell     28 certain damages, including Defendant’s profits or treble damages, violates the
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          Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 19 of 21 Page ID #:983



                  1 Excessive Fines Clause of the Eighth Amendment of the U.S. Constitution and
                  2 comparable provisions of state constitution(s).
                  3
                  4                    SEVENTEENTH AFFIRMATIVE DEFENSE
                  5                                   (Unjust Enrichment)
                  6         17.    The imposition of any liability against Defendant would unjustly
                  7 enrich Plaintiff including but not limited to by reason of Plaintiff’s unreasonable
                  8 delay in its efforts to enforce its rights, if any, despite its actual or constructive
                  9 knowledge of the widespread third-party use of the term “hand roll bar” in
                 10 conjunction with sushi restaurants.
                 11
                 12                     EIGHTEENTH AFFIRMATIVE DEFENSE
                 13                (Adequate Remedy at Law/Lack of Irreparable Harm)
                 14         18.    Plaintiff’s request for injunctive relief is barred because Plaintiff has
                 15 an adequate remedy at law and/or has failed to suffer any irreparable harm, and
                 16 therefore is not entitled to the injunctive relief sought.
                 17
                 18                   RESERVATION OF ADDITIONAL DEFENSES
                 19         19.    Defendant expressly reserves the right to assert and rely upon
                 20 additional affirmative defenses that become available or known during the course
                 21 of this action, or otherwise.
                 22
                 23         WHEREFORE, Defendant requests relief on Plaintiff’s Complaint as
                 24 follows:
                 25         1.     That Plaintiff takes nothing by its Complaint, and that its Complaint
                 26 be dismissed in its entirety, with prejudice, with judgment entered in favor of
                 27 Defendant;
    Mitchell     28         2.     For Defendant’s attorneys’ fees and costs incurred herein;
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          Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 20 of 21 Page ID #:984



                 1         3.    That this case be deemed exceptional pursuant to 15 U.S.C. § 1117(a)
                 2 and that all costs of this action, including Defendant’s reasonable attorneys’ fees,
                 3 be assessed against Plaintiff and in favor of Defendant;
                 4         4.    For such other relief as the Court deems just and proper.
                 5
                      DATED: April 14, 2020              MITCHELL SILBERBERG & KNUPP LLP
                 6                                       KARIN G. PAGNANELLI
                                                         BRADLEY J. MULLINS
                 7                                       GABRIELLA A. NOURAFCHAN
                 8
                 9                                       By: /s/ Gabriella A. Nourafchan
                 10                                           Gabriella A. Nourafchan
                                                              Attorneys for Defendant
                 11                                           The HRB Experience, LLC

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          Case 2:19-cv-07653-ODW-SS Document 29 Filed 04/14/20 Page 21 of 21 Page ID #:985



                 1                            DEMAND FOR JURY TRIAL
                 2         Defendant demands a trial by jury of all claims and defenses so triable.
                 3
                      DATED: April 14, 2020              MITCHELL SILBERBERG & KNUPP LLP
                 4                                       KARIN G. PAGNANELLI
                                                         BRADLEY J. MULLINS
                 5                                       GABRIELLA A. NOURAFCHAN
                 6
                 7                                       By: /s/ Gabriella A. Nourafchan
                 8                                           Gabriella A. Nourafchan
                                                             Attorneys for Defendant
                 9                                           The HRB Experience, LLC

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